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           Gould
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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division




          ---------------------------------:
                                           :
          BMG RIGHTS MANAGEMENT (US) LLC, :
          et al.,                          :
                         Plaintiffs,       :
                                           : Case No. 1:14-cv-1611
               vs.                         :
                                           :
                                           :
          COX ENTERPRISES, INC., et al.,   :
                         Defendants.       :
          ---------------------------------:




                                             VOLUME     8   (A.M. portion)




                                     TRIAL TRANSCRIPT


                                     December 11, 2015


                           Before:    Liam O'Grady, USDC Judge


                                         And a Jury




                                               Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
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          APPEARANCES:


          COUNSEL FOR THE PLAINTIFFS:

          Michael J. Allan
          John M. Caracappa
          Jeremy D. Engle
          Paul Gennari
          Margaret P. Kammerud
          William G. Pecau
          Stephanie L. Roberts
          Jeffrey M. Theodore
          Roger E. Warin
          STEPTOE & JOHNSON LLP
          1330 Connecticut Avenue, N.W.
          Washington, D.C.   20036


          Walter D. Kelley, Jr.,
          HAUSFELD LLP
          Suite 650
          1700 K Street N.W.
          Washington, D.C. 20006



          COUNSEL FOR THE DEFENDANTS:

          Andrew P. Bridges
          Guinevere L. Jobson
          Jedediah Wakefield
          FENWICK & WEST LLP
          555 California Street, 12th Floor
          San Francisco, CA 94194

          Brian D. Buckley
          FENWICK & WEST LLP
          1191 2nd Avenue, 10th Floor
          Seattle, WA 98101

          Craig C. Reilly
          CRAIG C. REILLY, ESQ.
          111 Oronoco Street
          Alexandria, VA 22314




                                               Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
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     1    of alleged infringement in this case.

     2    Q.      Did you include any alleged infringement other than what's

     3    represented in the Rightscorp data?

     4    A.      No, I did not.    If I were to do so, that would be

     5    considered speculative.      And as an expert economist evaluating

     6    this issue, it is my duty to not speculate and, instead, to

     7    rely upon the evidence that is available.

     8    Q.      So assuming liability as you did, were you able to

     9    calculate the harm to BMG from the alleged infringement?

    10    A.      Yes, I was.    I calculated an upper bound, a maximum of

    11    that effect.     While it's not possible to calculate a precise

    12    amount below that maximum, it is definitely feasible and I did

    13    calculate an upper bound of what that effect could be.

    14    Q.      Are any of these assumptions here arbitrary?

    15    A.      No, I view them as thoughtful assumptions that form the

    16    foundation for the work that I performed to calculate the

    17    potential harm to BMG.

    18    Q.      So the Rightscorp data that's -- actually, let me ask you

    19    a separate question first.       How did you receive the Rightscorp

    20    data?

    21    A.      A very large electronic file.      It has a total of 14

    22    million records in it.

    23    Q.      And that's 14 million -- you refer to them as records.

    24    They have also been referred to as infractions.

    25    A.      Yes.   So, records, observations, infractions, or, as I




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     1    think of it, as rows in a data table.          So think of a data table

     2    with 14 million rows.

     3    Q.    And so that's 14 million records.          Is that the number that

     4    Dr. Bardwell relied on?

     5    A.    No, he actually relied upon far fewer.             He initially put

     6    forth a number of approximately 2.4 million records or

     7    infractions associated with BMG, and then he revised that again

     8    to -- downward to be 1.8 million roughly.

     9    Q.    What was your understanding at the time of your report

    10    about the number of infractions at issue?

    11    A.    At that point it was roughly 2.4 million.

    12    Q.    And you said it started at 14 million.             Is there any other

    13    number that you have seen in play?

    14    A.    Well, yes.       So there is the 14 million, but then if you

    15    filter that or isolate that down just to the time periods at

    16    issue, then that becomes 7.6 million records.

    17                 That 7.6 million, when then further filtered by

    18    Dr. Bardwell, becomes the 1.8 million infractions or records

    19    that are now currently at issue.

    20                 The analysis I performed was based upon 2.4 million,

    21    not 1.8 million.       So it's part of why my analysis results in an

    22    overstatement or an upper bound.

    23    Q.    And did you treat -- so you used the Rightscorp records in

    24    your analysis.     Did you treat those records as uploads or

    25    downloads?




                                               Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
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     1    A.    I treated each one of those as a download.               So allegedly

     2    each of those records, each of those infractions reflects the

     3    presence of a work at issue on a computer connected to the Cox

     4    network.    So arguably, that file or that song or that work got

     5    on that computer somehow.       And I treat each one of those as it

     6    was downloaded by that user over the Cox network.

     7                  Now, not -- certainly not all of that would have

     8    occurred, yet that is part of calculating the upper bound, if

     9    you will.

    10    Q.    Okay.    You don't have evidence of those downloads, you

    11    just made that assumption for your calculation purposes?

    12    A.    That's right.    I just simply counted each and every

    13    observation or record at issue in the Rightscorp data as a

    14    download, and in a revenue-generating download.

    15    Q.    So what impact might a download of one of the works at

    16    issue have on BMG?

    17    A.    Well, potentially, if there is a user that has downloaded

    18    a song and if it was done through BitTorrent, if they had not

    19    done so in the absence of that download, then they may have

    20    instead purchased that work through other channels, through

    21    legal channels, or listened to it through streaming or gotten

    22    it through another digital download such as iTunes.                  And in

    23    that sense that could have generated revenue for BMG and

    24    profits.

    25                  Naturally there would be less than a 1-to-1 ratio




                                               Norman B. Linnell   OCR-USDC/EDVA   (703)549-4626
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     1    there, so not every person would elect to not obtain it through

     2    BitTorrent but then attain access to that song through other

     3    channels.     Yet, I have for the sake of my analysis assumed that

     4    it is 1-to-1.     That each and every record would result in a

     5    revenue-generating sale for BMG.

     6    Q.    So again, assuming infringement, how many lost of music a

     7    due to downloads could there have been?

     8    A.    There would be at most, and there should be a slide on

     9    this as well, a total of 2.4 million.          We can get to it later.

    10    Q.    I think we are there.      2.4 million.       And remind us again

    11    what that figure is based on.

    12    A.    That is based upon the number of infractions that were

    13    asserted by BMG and Dr. Bardwell in his analysis for which --

    14    when I performed my report.       The numbers have recently been

    15    reduced to 1.8 million.      I am using 2.4 million in the numbers

    16    that you are showing here.       So naturally there is a bit of a

    17    difference, the numbers could be arguably -- that I am

    18    presenting arguably adjusted downward as a result.

    19    Q.    Okay.    And I think this is going to play into why you did

    20    the calculations you did, but can you talk a little bit about

    21    if somebody wanted to listen to a work instead of allegedly

    22    downloading it, how else might they do it?

    23    A.    So there is really a couple of primary ways for users to

    24    attain works, aside from not doing it through BitTorrent.                      So

    25    one of those is what I will refer to as digital downloads.                      So




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      1    this is acquiring the music as a file through iTunes or Amazon

      2    Music or Google Play, one of those where a user downloads the

      3    to file to their computer or their device or their iPhone or

      4    their Droid device.

      5                The other way is through streaming.             So there are

      6    services such as Spotify and Pandora where users can gain

      7    access to and listen to music that gets streamed to their

      8    devices, but the music doesn't get stored on their devices.                       It

      9    gets downloaded to it or transferred to it each time it is

     10    being listened to.

     11    Q.    Why did you consider those other methods of music

     12    consumption?

     13    A.    Those are the most similar to any other -- to BitTorrent

     14    downloading.    So as you can see here in this chart I put

     15    together, the red line with the squares, that reflects physical

     16    media.   So those are things like CDs.         And this is on an annual

     17    basis.   You can see that the sales associated with that have

     18    been declining over time, which is not too surprising.                    There

     19    has been a big change in the music industry over the past few

     20    years such that streaming, which is the gray line with the

     21    circles, that that's been increasing over time tremendously.

     22    So that is Spotify and Pandora.       Those services, they provide

     23    two types of services to consumers:         Free and paid.

     24                So, Spotify, for example, provides a free service for

     25    users to be able to stream service, and then they also provide




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      1    a premium paid service as well.

      2                 And streaming in particular has really increased

      3    supply of music in the marketplace and fundamentally changed

      4    the supply and demand equation for the music industry.

      5    Q.    And how did you determine how many people might purchase a

      6    digital download as opposed to streaming?

      7    A.    I utilized data from BMG.      So this is a table that

      8    provides an example of some of those data.               So I just have four

      9    musical works here as examples.       You can see that the data were

     10    provided on an annual basis.

     11                 So for Aretha Franklin, for example, I have data in

     12    2013 as well as data in 2014.       You can see from BMG that the

     13    revenue, that 97.8 percent of revenue in 2013 for that song

     14    came from digital downloads.       And 2.2 percent came from

     15    streaming.

     16                 In the next year, the percentages changed and there

     17    was less to digital downloads, only 70.2 percent, whereas the

     18    streaming increased to 29.8 percent.

     19                 So I looked at each and every individual work in each

     20    year to figure out what that allocation is for each of those

     21    works, and I used those individual allocations, just like you

     22    see here on this table, just except for all of the works.

     23                 If you were to then look at the overall attribution

     24    or division of revenue between downloads and streaming, you

     25    would see that 76.3 percent goes to downloads, 23.7 percent




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      1    goes to streaming.

      2    Q.    Okay.    And we are going to see how that relates to your

      3    lost profits calculations.

      4                  And what does this slide represent?

      5    A.    So this is helping to demonstrate the different ways in

      6    which music is distributed.      So the first row is for

      7    BitTorrent.     And as we have learned, that does not require any

      8    additional payments, that you attain the music when accessed

      9    via Internet.     And you can attain albums or individual songs as

     10    the case may be.

     11                  Most similar to that is streaming and downloads.                   So

     12    streaming has all of those very same characteristics.

     13    Downloads, however, do require an additional payment.                    So if

     14    you were to acquire a song from iTunes, for example, typically

     15    it runs $0.99 or $1.29, something like that.

     16                  Physical media, of course, is just very different.

     17    It typically comes in a CD, that's a full album, and it isn't

     18    being delivered straight to a digital or an electronic device.

     19    So quite a bit different.

     20    Q.    Okay.    So now let's talk about your analysis of lost

     21    units.   You said you did not include uploads in lost units,

     22    correct?

     23    A.    I did not.

     24    Q.    Can you say briefly again why that is?

     25    A.    There is virtually zero effect that users on the Cox




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      1    network could potentially have on any uploads.

      2                  So although there may -- I've seen no evidence, but

      3    although there could be uploads of little bits and pieces of

      4    the works at issue that are residing on a computer, the odds

      5    that that could have an effect on BMG is minuscule, it's

      6    virtually zero.

      7    Q.    And do you have a slide that reflects that?

      8    A.    I do.

      9    Q.    Can you just briefly describe what this depicts.

     10    A.    Sure.    So on the left you see a big pie chart.               And this

     11    is reflecting the global households with Internet access.                      As

     12    we've learned, BitTorrent is a global software and used

     13    globally.

     14                  Cox has a share of Internet households of about

     15    .7 percent globally.     It's about 5 percent in the United States

     16    and about .7 globally.      So that is less than 1 percent.

     17                  Now, if there are users on the Cox network that are

     18    seeding or providing little bits and pieces of the works at

     19    issue to others, and suppose there are ten of those all total,

     20    ten peers throughout the world, the odds or the probability

     21    that all ten of those would be on the Cox network is

     22    itty-bitty.

     23                  So you can see the number here, it is 0., lots of

     24    zeros, 396 percent.     It's a really, really small number.

     25                  Now, what's interesting -- well, to me as a




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      1    statistician I suppose -- is that my research indicates that

      2    typically songs are not being offered through ten peers, but

      3    it's typically more like 100 peers or 1,000 peers.                 And so, you

      4    can imagine that if instead of doing this probability for just

      5    ten peers, we were to do it for 100, you can effectively add

      6    another 100 zeros to this probability.

      7                 So the odds that it all would be generating from the

      8    Cox network is infinitesimally small.          So that means that the

      9    effect that Cox could be having on any uploads that could be

     10    coming from their network is close to zero, it's something that

     11    could be addressed by a single $1 bill.

     12    Q.    Thank you, Dr. Sullivan.

     13                 All right, so let's talk now about revenues

     14    associated with lost downloads.       So how did you determine lost

     15    units -- and again, this all assumes infringement.                 But how did

     16    you determine lost units associated with downloads?

     17    A.    Yes.   As I had mentioned, I start with 2.4 million assumed

     18    P2P downloads, so it's actually 2,408,946 downloads.                     I used

     19    that separation or division between digital downloads and

     20    streaming of 76.3 percent going to downloads, 23.7 percent

     21    going to streaming.

     22                 That means that there are -- for digital downloads,

     23    there would be 1,759,796.      And what I'm calling here initiated

     24    streams -- and I'll explain that in a moment -- of 632,691.

     25                 Now, the arithmetic here isn't exact, meaning




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      1    76.3 percent times 2.4 million is not exactly 1,759,796.                     And

      2    that's simply because when I go through work by work and I look

      3    at their revenue, some of them are zero revenue types of works,

      4    and so it creates -- there's just a very slight rounding effect

      5    that occurs.

      6    Q.     And this 2.4 million number on the left is what you used

      7    at the time of your report, but you said that number is lower

      8    now?

      9    A.     Correct.   So that number is now 1.8 million.              Thus all of

     10    my numbers could be adjusted downwards by approximately

     11    one-fourth.

     12    Q.     Can you describe the next step in your analysis, please.

     13    A.     Yes, I can.     So this is for digital downloads, not the

     14    streaming, but the downloads.       I took those number of units,

     15    the roughly 1.8 million units here, and I multiplied each one

     16    of those by a price of $1.17.       This is the -- kind of like an

     17    average retail price that's coming out of places such as iTunes

     18    and Amazon Music.

     19                Now, this would overstate the revenue to BMG because

     20    BMG does not get that full retail price, they get -- it's on a

     21    wholesale basis.

     22                And as we know, the works at issue are compositional

     23    works, not for the recording.       That means they don't get the

     24    entire piece.

     25                So here again, this would be overstating or providing




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      1    an upper bound on what the price would be for each download.

      2    But nonetheless utilizing that amount and doing the

      3    multiplication, gives revenue of $2,068,821.

      4    Q.    Okay.    And summarize for us again what that figure

      5    reflects.

      6    A.    That would be lost revenue associated with digital

      7    downloads for BMG, assuming liability.

      8    Q.    And now let's talk about lost streaming as opposed to

      9    digital downloads.     I think you mentioned something about lost

     10    initiated streams.     Can you briefly describe that.

     11    A.    Yes.    So for streaming, that occurs over time.               It can be

     12    from, you know, one month to the next.           What I did is I

     13    utilized each instance in the Rightscorp data, the first time

     14    it appears in the Rightscorp data, from that month forward I

     15    counted each of those months as a potential lost streaming

     16    month.   And so the number of months of streaming is much more

     17    than just the 632,000 of initiated streams.

     18                  So if you were to look on this chart here, you see

     19    that the 632,000 initiated streams, those units turn into a

     20    number of streaming months of 8,574,659 streaming months.

     21                  So the way to think about that is there's

     22    approximately eight-and-a-half million months worth for each

     23    work where it was streamed.

     24    Q.    Or would have been streamed in your --

     25    A.    Right, under the assumptions.




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      1                THE COURT:      Mr. Buckley, is this a -- you've got more

      2    than three minutes left of direct, I would imagine, huh?

      3                MR. BUCKLEY:     I do.   Do you want me to use the last

      4    three minutes and get as far as we can --

      5                THE COURT:      No.   I think that this is a good breaking

      6    time.

      7                MR. BUCKLEY:     Thank you, Your Honor.

      8                THE COURT:      We're going to break for an hour.                  We'll

      9    back at 2:00 and continue the direct examination of

     10    Dr. Sullivan.

     11                All right, enjoy your lunch.            You're excused, thank

     12    you.

     13                NOTE:      At this point the jury leaves the courtroom;

     14    whereupon the case continues as follows:

     15    JURY OUT

     16                THE COURT:      All right, anything we need to discuss

     17    before break?

     18                MR. BRIDGES:     One housekeeping matter, Your Honor.

     19                THE COURT:      Yes, sir.

     20                MR. BRIDGES:     This afternoon Cox would intend to

     21    provide an offer of proof.        We could do it orally, we could do

     22    something in writing, whatever.          We just wanted to get the

     23    Court's direction on how you would like to proceed.

     24                THE COURT:      You can do it orally on the record.                   Is

     25    it something that you want to have in your hand to show the




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                               UNITED STATES DISTRICT COURT
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                                            :
           BMG RIGHTS MANAGEMENT (US) LLC, :
           et al.,                          :
                          Plaintiffs,       :
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                vs.                         :
                                            :
                                            :
           COX ENTERPRISES, INC., et al.,   :
                          Defendants.       :
           ---------------------------------:




                                                 VOLUME      8   (P.M. portion)




                                       TRIAL TRANSCRIPT


                                      December 11, 2015


                            Before:    Liam O'Grady, USDC Judge


                                           And a Jury




                               Norman B. Linnell/Anneliese J. Thomson   OCR-USDC/EDVA   (703)549-4626
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           APPEARANCES:


           COUNSEL FOR THE PLAINTIFFS:

           Michael J. Allan
           John M. Caracappa
           Jeremy D. Engle
           Paul Gennari
           Margaret P. Kammerud
           William G. Pecau
           Stephanie L. Roberts
           Jeffrey M. Theodore
           Roger E. Warin
           STEPTOE & JOHNSON LLP
           1330 Connecticut Avenue, N.W.
           Washington, D.C.   20036


           Walter D. Kelley, Jr.,
           HAUSFELD LLP
           Suite 650
           1700 K Street N.W.
           Washington, D.C. 20006



           COUNSEL FOR THE DEFENDANTS:

           Andrew P. Bridges
           Guinevere L. Jobson
           Jedediah Wakefield
           FENWICK & WEST LLP
           555 California Street, 12th Floor
           San Francisco, CA 94194

           Brian D. Buckley
           FENWICK & WEST LLP
           1191 2nd Avenue, 10th Floor
           Seattle, WA 98101

           Craig C. Reilly
           CRAIG C. REILLY, ESQ.
           111 Oronoco Street
           Alexandria, VA 22314




                               Norman B. Linnell/Anneliese J. Thomson   OCR-USDC/EDVA   (703)549-4626
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      1                 THE COURT:      Yeah.     That's a natural way to separate

      2    it out.    The jury won't have any trouble with that.                       That's

      3    good.

      4                 MR. WARIN:      Thank you very much, Your Honor.

      5                 THE COURT:      All right.        Thank you.

      6                 All right, Joe, let's get our jury.

      7                 Does somebody want to get Dr. Sullivan?                     That would

      8    be great.    Thank you.

      9                 I was talking -- I'm vertically challenged.                        It looks

     10    like I'm talking to you.           I'm actually trying to talk to

     11    somebody --

     12    JURY IN

     13                 THE COURT:      All right.        Please have a seat.              I hope

     14    you enjoyed your lunch, and we'll proceed with Dr. Sullivan.

     15                 Mr. Buckley?

     16                 MR. BUCKLEY:       Thank you.

     17                 RYAN SULLIVAN, PH.D., DEFENDANTS' WITNESS,

     18                             PREVIOUSLY SWORN, RESUMED

     19                           DIRECT EXAMINATION (Cont'd.)

     20    BY MR. BUCKLEY:

     21    Q.      Dr. Sullivan, welcome back.

     22    A.      Thank you.

     23    Q.      So, Michael, could you bring the slides back up, please?

     24    Thank you.

     25                 So, Dr. Sullivan, when we stopped, you were talking




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      1    about lost units being converted into streaming months.                            Can

      2    you just reorient -- spend five seconds and reorient us,

      3    please?

      4    A.    Sure.    Absolutely.       So for all of the assumed lost units,

      5    there were about 2.4 million.             76 percent of those is digital

      6    downloads, and then roughly 24 percent of those as streaming,

      7    and I took every record, every instance of alleged infraction

      8    in the Rightscorp data, and from that month forward, I assigned

      9    it to be streaming.

     10                  And so what the 8.5 million reflects is the number of

     11    infractions times the number of months for which it would be

     12    strained.

     13    Q.    And then on the next slide, can you describe what you did

     14    with that information?

     15    A.    Yes.    So I took that information and I converted it into

     16    revenue, so I took the roughly 8.5 million streaming months,

     17    and I had to first determine how many streams per month each

     18    work would have, and I utilized a figure from Spotify, Spotify

     19    being one of the largest streaming providers in the country,

     20    and for the top 100 works, top 100 songs at Spotify, they get

     21    streamed just over one time per month, 1.066 times per month.

     22                  Now, we know there's more than 100 works at issue

     23    here, and as a result, this would be overstating the number of

     24    streams for each work because clearly not all of the works

     25    could be within the top 100, but I used this as a metric to




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      1    make sure that I got an estimate that would be a maximum or an

      2    upper bound.

      3                 I then also had to figure out what the price is that

      4    would be received by BMG for each of those streams.                         Again,

      5    that comes from Spotify.           It's the high-end estimate of their

      6    price that they would pay to BMG.               And it's just under 1 cent

      7    per stream.    It's .0084 dollars, or .8 cents.                    When I multiple

      8    that all together, I get a total of $76,765, and that's for the

      9    total period of time that's at issue here.                      That would be

     10    assuming infringement, the lost revenue associated with

     11    streaming.

     12    Q.    So that's not a monthly figure?

     13    A.    No, it's not monthly.           It's for the entire time period.

     14    Q.    Dr. Sullivan, how did you calculate total lost revenues to

     15    BMG assuming infringement?

     16    A.    So I took the two values and added them together.                          So I

     17    took that streaming revenue, the potential lost revenue of

     18    approximately $76,000.          I added that to the $2,068,821 that is

     19    the potential total lost revenues for downloads.                       When I add

     20    those two together, the total potential lost revenue is

     21    $2,145,585.

     22    Q.    And that's revenue, not profit?

     23    A.    Correct.

     24    Q.    How did you get to profit?

     25    A.    So I deducted costs.          I looked at what the profit margin




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      1    is for BMG, and, in fact, what I used is what's referred to as

      2    an incremental profit margin.             This comes up again later, this

      3    notion.

      4                What incremental means is what are the additional

      5    costs or profits that would be observed given the increment,

      6    the amount or the size of the change.                 Here, utilizing BMG

      7    data, I was able to identify that the incremental profit margin

      8    across the relevant time period here is 38 percent.

      9                So when I multiply the 2.1 million by 38 percent, the

     10    answer is $815,979, which reflects the lost profits and

     11    potential harm to BMG as a result of the alleged infringement,

     12    again assuming Cox is liable.

     13    Q.     And if Cox is found not to be liable, what's the harm to

     14    BMG?

     15    A.     Well, then it would be zero.             This would not apply or be

     16    relevant.

     17    Q.     So under your analysis, Dr. Sullivan, what would the harm

     18    to BMG from the alleged infringement be if it could only prove

     19    25 percent of its case, 25 percent of the infringements?

     20    A.     It is proportional.         So this is a table that I put

     21    together that demonstrates that lost revenues and lost profits

     22    are proportional to the amount of infringement that is assumed.

     23    It's also proportional to the, you know, amount of conversion,

     24    meaning what, you know, what percentage of the records in the

     25    Rightscorp data would convert into revenue-generating units,




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      1    would actually convert into sales.

      2                  So, for example, if there was a belief that it was

      3    only 25 percent that would convert or that there'd only be 25

      4    percent of the infringement, then you would multiply the

      5    numbers I had previously given by 25 percent.                      So for lost

      6    revenue, 25 percent of 2.1 million is $536,396.

      7                  Similarly, 25 percent of lost profits is -- 25

      8    percent of lost profits is $203,995.

      9    Q.      And the other numbers on this table presumably are just

     10    math.    It's the percentage times the total there, right?

     11    A.      Exactly.

     12    Q.      So, Dr. Sullivan, does your lost profits number

     13    represent -- or your lost profits numbers, do they represent

     14    the actual amount of damages to BMG here?

     15    A.      No.   These are what I referred to as upper bounds, or

     16    maximums.      It's the highest amount that it could possibly be,

     17    and there are a number of reasons as to why the true answer,

     18    even assuming infringement, is lower than these amounts.

     19    Q.      Can you discuss those?

     20    A.      Certainly.     And I've addressed some of these earlier today

     21    as well.      So, in essence, I've assumed that the substitution

     22    from a file being in the Rightscorp data to converting or

     23    substituting to a revenue-generating work is 100 percent, and

     24    there's reason to believe that should be less, because going

     25    from a user obtaining something for free to something that is a




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      1    positive price where they have to pay money, most of us, we buy

      2    less when the price is higher.

      3                It also is overstating the digital downloads that

      4    would occur because of -- and the digital download revenue that

      5    would occur.    I used the retail price of $1.17 per song, and we

      6    know that BMG would actually get less than that amount.

      7                It's also overstating the streams per work, because

      8    as I mentioned, I'm using the top 100 songs and the amount of

      9    those streams as an estimate here, so that this again is an

     10    upper bound.

     11                And most importantly, I have assumed that each and

     12    every record in the Rightscorp data would be considered a

     13    separate revenue-generating item, but keep in mind that each

     14    record is a separate IP address, port number, song, and date

     15    and time.    To the extent that there's a ping that happens in a

     16    recording of an observation by Rightscorp that happens one

     17    right after the other, some of them we see happen within the

     18    same hour, nothing new is changed, I'm counting those as that

     19    user has obtained that song twice, when that would not have

     20    occurred.

     21                So I have in that sense overstated the effect.                          Yet,

     22    I have utilized the evidence that has been put forth by BMG in

     23    terms of infringement.          I take that as an assumption, and I

     24    utilize that as my basis for the amount of alleged

     25    infringement.




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      1    Q.    So assuming infringement, does this analysis provide a

      2    maximum amount of actual damages in this case?

      3    A.    Yes, it is a maximum amount.

      4    Q.    Okay.    So, Dr. Sullivan, let's switch gears and talk about

      5    potential benefits to Cox associated with the alleged

      6    infringement here.        You're familiar with Dr. Lehr and his

      7    testimony, you referred to him earlier?

      8    A.    Yes.    I have reviewed his expert reports, the transcripts

      9    of his deposition testimony and trial testimony.

     10    Q.    And he talks about the potential benefit to Cox, right?

     11    A.    Yes, he does.

     12    Q.    Do you agree with his views on that?

     13    A.    I do not for several reasons.               In my view, he has

     14    incorrectly included the entire value of Cox's provision of

     15    Internet service, even though a small fraction of that could

     16    potentially be attributable to the alleged infringement in the

     17    works at issue.

     18                  In addition, he has included voice as well as video

     19    services, whereas we know that the alleged infringement on the

     20    P2P BitTorrent is through the Internet service, not through

     21    video and voice.

     22                  In my view, he has overstated the value, the lifetime

     23    value of each subscriber to Cox, especially as it relates to

     24    the alleged infringement, and he has also used some incorrect

     25    data in performing those calculations.




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